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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                       CRIMINAL 12-0154CCC
1) JOSE RIVERA-DIDES
2) JORGE OMAR VICENTY-MELENDEZ
3) REY GONZALEZ
4) EDWIN MARIN-MARTINEZ
5) ALEJANDRO ROSARIO-RIVERA
6) GERMAN MORALES-COLON
7) MIGUEL PEREZ-RIVERA
8) JOSUE ROSARIO-RESTO
9) JONATHAN RIVERA-MEDINA
10) LUIS E. ACEVEDO-OQUENDO
11) LUIS J. ACEVEDO-OQUENDO
12) JUAN ALVARADO-HERNANDEZ
13) GAMALIER RODRIGUEZ-TAÑON
14) RAFAEL MARIN
15) CARLOS A. DE JESUS-CUEVAS
16) WILLIAM RIVERA-RODRIGUEZ
17) JONATHAN GONZALEZ-COLON
18) WILFREDO RODRIGUEZ-RIVERA
19) RAUL MARIN-MARTINEZ
20) JUAN DAVID MARIN-MARTINEZ
21) GIOVANNI GONZALEZ-TORRES
22) JOSE BAEZ-LEON
23) AVIDAEL HERNANDEZ-AGOSTO
24) FERNANDO SUAREZ-LAFONTAINE
25) JONATHAN GONZALEZ-MEDINA
26) JOAN SERRANO-RODRIGUEZ
27) FELIPE MAS-QUILES
28) JOSE MEDINA-GRAU
29) CARLOS FELICIANO-GONZALEZ
30) EMANUEL PAGAN-COLLAZO
31) MICHELLE RODRIGUEZ-RIVERA
32) ALEX DE JESUS-CAQUIAS
33) MARIO RIVERA-DIDES
34) JORGE L. PAGAN-COLLAZO
35) JORGE L. NEGRON-CASTELLANO
36) CALIXTO RIVERA-MONTERO
37) SIGFREDO DE JESUS-RODRIGUEZ
38) JOSE GIOVANNI RIVERA
39) JAVIER DE JESUS-GONZALEZ
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 40) GABRIEL SOTO
 41) ALEX ARROYO-RAMOS
 Defendants



                                        ORDER

      Having considered the Report and Recommendation filed on June 24, 2013 (docket
entry 807) on a Rule 11 proceeding of defendant Calixto Rivera-Montero (36) held before
U.S. Magistrate Judge Bruce J. McGiverin on June 19, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since June 19, 2013. The sentencing hearing is set for
September 19, 2013 at 4:15 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on July 11, 2013.



                                        S/CARMEN CONSUELO CEREZO
                                        United States District Judge
